
[*]
Kirkpatrick, C. J.
What more precise demand can one man make against another than that of a specified balance due on settlement of accounts ? Surely none. Had this been a balance struck by the plaintiff below in his own books, without further particulars, I should have thought it insufficient-; but here the balance is ascertained by the pai'ties themselves; and in my opinion, sufficient.1
Rossekl, J.
Same opinion.
Pennington, J.
The first objection to the proceedings below is to the state of demand. It is an account current. The first item on the debit side, is, to balance due on settlement, $69.51. It appears to me, that this is perfectly correct. There is no necessity in the state of demand to travel back into an account after it is once settled.
The next objection is to the rejection of testimony. The justice, in his record, says that he overruled the testimony because it went to prove by parol the debt of another person. Whether the facts in the cause warranted the conclusion of the justice, this court cannot determine, unless the whole case is before it, which is not. I cannot perceive any reason why this judgment should not be affirmed.
Judgment affirmed.
Cited in Prest v. Mercereau, 4 Halst. 268; Carter v. Lackey, Spen. 608.

 s. P. 4 Salst. 270.

